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Messages - Bree Moore                                                                                   +14439951520




                                                    iMessage
                                             8/18/20 8:25:44 PM EDT


                                So far in the last 24 hours, Jarrod threatened Andrew and caused a huge
                                raucous last night, some jackass threatened Jon at the front desk this
                                morning bc 4 kids in the back were not wearing masks, to the point that
                                Jon got tearful and very upset, my lawyer sent an email saying Kubas
                                lawyer reached back out and would still like a settlement around 100K
                                and the homeowner of an investment property I sold two years ago said
                                the neighbors lawyer called to tell them they wanted to sue if they didn’t
                                move the property fence I installed because it is on their property.

                                             3/23/21 5:34:47 PM EDT


                                Devin, Bobbi and LaToya all got served papers today for the Kubas case
                                from her lawyer. Just wanted to make sure that no one tried to contact
                                you.

                                            4/24/21 11:59:32 AM EDT




                                                                              Bree Moore-Kubas Text.pdf




                                                                                       Ex. 1

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I, Brian Chisholm bought Rockwell fitness in September 2018 along with my business partner
Sid Saab.

When we purchased the gym all the employees were already in place and we did not need to hire
or dismiss anyone at that time. It was our desire to keep everyone in their current roles so that we
could make a very smooth transition without any disruptions.

Kimberly Kubas was a part time bookkeeper that averaged 8-10 hours a week. Her primary
responsibility was to follow up on any declined credit cards, negative balances and various data
collection for employees and members. Her initial hire date was April 2006 when she applied for
the kids club. I am not certain how long she had served in the role as a bookkeeper but that was
her role when we purchased the gym.

Devin Conway was the Personal Training Manager and Coordinator when we purchased the
gym. Devin Conway was hired in May 2015. Devin was made Co-General Manager in March
2019 upon the resignation of the current general manager, Ryan VanBrackell. This was done
after considering several candidates from both external and internal sources. Devin shared the
role with Ryan Brewer who only served in the role for 4 weeks. Ryan Brewer resigned after deep
frustrations in dealing with LaToya Butler-Williams who was the Front Desk Manager.

Devin took over the role as sole General Manager in April of 2019. Devin works 10 to 12 hours a
day, is typically in the gym six to seven days a week and knows just about every single member
that walks in the gym. He is also highly accredited, certified and holds a bachelor’s degree from
Towson University. He is very intelligent, personable, considerate, kind and hard-working leader
so we felt as though he would serve perfectly as our new General Manager.

On May 11, 2019 we had a health fair in Rockwell Fitness which included seminars, vendors,
food and a moon bounce for the kids. Kimberly Kubas made several unflattering remarks about
Devin Conway to his mother that morning. She was completely unaware of who she was
talking to at that time outside by the moon bounce.

Later that evening, we had a charity function for one of our employees who is battling a
debilitating disease. At that function, Kimberly Kubas aggressively confronted one of our
personal trainers Bobbi Beers about her relationship with Devin Conway. Devin had been
casually hanging out with Bobbi Beers when they were away from work. This did not sit well
with Kimberly Kubas who had a very brief relationship with Devin Conway a little over a year
ago. I learned from speaking to other employees and witnesses that Kimberly was very
intoxicated and irritated later that evening when she joined Bobbi Beers and others at a bar they
went to after our function.

In early June of 2019, Kimberly Kubas asked to speak with me over the phone. I called her and
we had a 15 to 20-minute conversation. She told me that Devin Conway was being “mean” to her
in the manager meetings or flat out just ignoring her. She also told me that Devin is making some
of the female employees including herself uncomfortable. I asked if she could give me some
details and names of others she had spoken to in this matter. I took this very seriously and shared
my conversation with my business partner Sid Saab at the time. I told him I wanted to make sure



                                                                                Ex. 3
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to find the truth and I would dedicate all resources to uncovering this truth. Sid and I are both
public officials and as such, we are held to a higher standard and must be fully committed to the
truth, safety and fairness.

The manager meetings were always attended by three or four other department managers in
which Devin was allegedly being “mean” to Kimberly Kubas. When I had the opportunity to
inquire as to these claims, the others seemed puzzled and could not recall any such actions other
than his request that Kimberly Kubas please clock in when working.

When I asked Kimberly Kubas about any sexual harassment violations against her by Devin
Conway, she told me that he had in the past come into her office and would make suggestive
comments and flirt. He had never touched her in an unwanted way, however.

I asked to have a private meeting with Devin Conway around June 14 in his office. I did not
reveal to him that another employee had voiced any sexual harassment charges against him to
ensure there was no possibility of retaliation. I did take the opportunity to explain that as a
General Manager he was now in a position of authority and must be extremely cautious in the
way that he conducts himself around other employees and members. I explained to him that my
number one priority in that gym is to provide a safe and comfortable work environment for every
person in that gym. I told him that this must always also be carried out by him. I had complete
confidence that he comprehended my directive for his personal conduct. He was very receptive
and understood I was not accusing him of anything during this meeting.

When I asked Kimberly Kubas if she could provide me with the names of anybody, she knew
that Devin Conway had sexually harassed or made feel uncomfortable. She gave me the
following names.

Bobbi Beers
Bree Moore
Riley Mayer

I spoke with Bree Moore in mid-June and asked if she had ever felt uncomfortable, sexually
harassed or intimidated by Devin Conway. Bree Moore told me at the time that she in no way
ever felt uncomfortable, intimidated or harassed by Devin Conway. She was surprised by the
question and seemed bewildered as to why I would need to ask the question.

I called Riley Mayer on the phone and asked her the same questions. She laughed and said of
course not and thought the question was out of left field. She did tell me that Devin had asked
her out on a date when she first started working there but she said no. She did not think it would
be a good idea and it never went any further.

I then asked Bobbi Beers the very same question. She was insulted by the question and told me
that Kimberly Kubas was trying to get Devin fired because Kimberly had been there for five
years and thought she deserved the General Manager job. She also told me the full story of what
happened on the evening of May 11, 2019. Bobbi Beer’s account was in deep contradiction to
what Kimberly Kubas had told me happened. Bobbi Beers expressed to me how absolutely safe




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she and every other female trainer she works with feels around Devin Conway. This included
another personal trainer name Trista Chandler.

I have found Trista Chandler to be extremely honest and of high moral character. She was not
named by Kimberly Kubas but I sought out her thoughts on this matter based on her experiences
around Devin Conway. When I asked Trista the same questions, she too felt the accusations
were absurd and coming out of jealousy and envy.

Previously, on Friday evening June 14, 2019 Kimberly Kubas and my front desk employee
LaToya Butler Williams went to the point restaurant in Arnold Maryland. My brother, Bob
Chisholm keeps his boat in a slip right next to the Point Restaurant. He and his wife Sandi were
hanging out on their boat that evening when LaToya Butler Williams, who is a friend of my
brother and sister-in-law came over to hang out along with Kimberly Kubas. My brother called
me the next day and asked about Kimberly Kubas because she evidently did not know that he
was my brother. He said she rambled on trashing the character of Devin Conway in a very
drunken state. My brother said, she did not mention anything in regard to sexual harassment or
intimidation. She did, however, continuously make fun of his physical attributes and that he did
not deserve to be a General Manager.

I made Devin Conway aware of the complete situation and informed him of everyone I had
spoken to in regard to this matter on June 19, 2019. Devin seemed stunned and deeply hurt by
the accusations. He told me how he had dedicated all his energy into Rockwall fitness and its
members over the past five years. He was deeply concerned that this type of false accusation
could damage many of the strong and trusting relationships he had worked so hard to establish at
Rockwell Fitness. I told him that it was my duty to ensure all sides were heard and that the truth
would be pursued regardless of the timeframe. I did want him to try and reflect on all his
interactions with any employees or members and ask himself if any of them were inappropriate?
He said with confidence that he absolutely did not recall anything of the sort, and this was
completely out of his character and core morals. I did tell him at that time that I needed to strive
to provide a safe and comfortable work environment, but I had no plans to dismiss anyone at this
time immaturely.

On the morning of Friday, June 21, 2019 I received a call from Devin Conway at 7 AM. He told
me that one of our other employees was approached in the free weight room and asked if Devin
Conway was being fired for sexually harassing Kimberly Kubas. This member had heard it from
Billy D Williams a few minutes earlier in a conversation. Billy D Williams is a member and the
husband of LaToya Butler Williams my front desk employee and the girl accompanying
Kimberly Kubas by the back of my brothers boat on June 14. I texted Billy D Williams later that
afternoon of June 21 and asked that he please do not discuss any personal matters with other
members that had the possibility of being factually untrue. He immediately texted back and said
he was sorry.

I was in communication with Kimberly Kubas that morning in regard to the text and timeline
provided. When she finally made it to the gym after 12 PM and I asked about her clocking in
from her daughter’s doctor’s appointment she became very defensive but could not provide a
reasonable answer. I did at that time ask if she had any idea where the rumor being spread by




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Billy D Williams could have come from that morning. She would not answer the question and I
told her these types of accusations being spread in a community gym can create a very negative
experience for other members and employees. I furthermore asked if she could provide any more
names or examples of sexual harassment so I could be absolutely sure that I had investigated
everything and could arrive at an honest conclusion. She did not answer but she asked me at that
point if she was being fired. I told her only if you cannot give me a reasonable explanation for
falsely clocking in that morning. I told her I was sincerely sorry because Sid Saab and myself
had placed a tremendous amount of faith in her. I told her I would pay her for two additional
weeks and continue to look for new evidence supporting her claims. No such evidence has been
discovered since her dismissal. She grabbed all her belongings on the afternoon of July 21, 2019
and swiftly walked out the door.




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5/21/2021                                               RockWell Fitness Mail - I need your help please
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                                                                                                  Brian Chisholm <bc@rwfitness.com>



  I need your help please
  1 message

  Brian Chisholm <bc@rwfitness.com>                                                   Wed, Sep 2, 2020 at 10:23 AM
  To: Bree Moore <bmoore@rwfitness.com>, Ss Ss <ssaabs1@aol.com>, Jon Souders <jsouders@rwfitness.com>, Mark
  Truffer <mtruffer@rwfitness.com>

    Hello All

    I will need everyone involved with the new hire process and working the front desk to please prioritize your job
    responsibilities above all else. Payroll is due to the accountant every other week on Wednesday at 12 PM and I am here
    struggling to find paperwork and add hours for the third or fourth consecutive payroll.

    When an individual has accepted an offer to come to work with us at Rockwell Fitness, we must have them complete all
    the paperwork necessary to add them to the payroll immediately before we do anything else. If we need to work out
    whose responsibility that will be, then let me know and I will make sure it is fully understood. Once the paperwork is
    completed, please scan all the documents into a folder and send them to:

    Jessica Dorothy
    jdoro.2411@gmail.com
    Enrolled Agent
    2411 Crofton Lane Ste 23
    Crofton, MD 21114
    (410-793-0542
    Hugh D. Blocker CPA LLC

    Once that is complete, please add to a master folder of all employees. The hard copies should be filed in a cabinet for
    security reasons.

    The employee must then be given our employee handbook via hard copy or electronic copy and asked to sign an
    acknowledgement of receipt. This must be added to the hard copy and the electronic folder.

    Lastly, and very importantly, add them to Club Automation and teach them how to clock into the system. I will have very
    little tolerance for employees forgetting to clock-in and clock-out when they are working. We will not forgive this mistake
    very often and it could result in loss of pay. I am not trying to be harsh but it sets us up for serious problems and loss of
    pay if we do not take this process seriously.

    Thank you all

    --
    Brian A Chisholm
    Rockwell Fitness
    Owner/Operator
    443-995-1520 Cell
    bc@rwfitness.com




                                                                                                Ex. 4

                                                      331B_0809
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